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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                                CASE NO. 4:07cr34-SPM

THEODORE HARRIS,

        Defendant.
                                           /

                             REPORT AND RECOMMENDATION

        Defendant proposed to enter a guilty plea to Counts Six, Seven, Eight, Nine and

Ten of this indictment. The district judge referred this matter to me for purposes of

hearing Defendant's proposed change of plea pursuant to Fed.R.Crim.P. 11 and to

enter a report and recommendation as to whether to accept the change of plea. All

parties consented to this procedure, and the written consent has been entered. After

hearing, it is found that:

        1. Defendant understands the nature of the charge or charges as to which the

plea is offered.

        2. Defendant understands the right to trial by jury, to persist in a plea of not

guilty, to assistance of counsel at trial, and to confront and cross examine adverse

witnesses, and understands the right against compelled self-incrimination.
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         3. Defendant understands the maximum possible sentence if the guilty plea is

accepted, including the effect of a supervised release term, understands that the

sentencing guidelines are advisory, and understands that the court has discretion to

depart from those guidelines and sentence up to the statutory maximum sentence.

         4. The plea of guilty by the Defendant has been knowingly and voluntarily made,

and is not the result of force or threats, or of promises except for promises contained in

the written plea agreement between the parties.

         5. Defendant is competent to plead guilty.

         6. Defendant understands that answers given by the Defendant during the plea

colloquy, which were under oath, may be later used against the Defendant in

prosecution for perjury or false statement.

         7. There is a factual basis for Defendant's guilty plea.

         8. There is a plea agreement which should be accepted by the court. Defendant

understands the terms of the plea agreement.

         9. Defendant has voluntarily consented to go forward with this plea of guilty

before me. Defendant knowingly and voluntarily has waived the ten day period for filing

objections to this report and recommendation, and agrees that written objections, if any,

must be filed within twenty-four hours from receipt of a copy of this report and

recommendation. The United States also consents to this procedure, including the

shorter period for objections.




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         Accordingly, it is RECOMMENDED that the court ACCEPT the plea agreement

and defendant's plea of guilty.

         IN CHAMBERS at Tallahassee, Florida, on June 13, 2007.



                                         s/  William C. Sherrill, Jr.
                                         WILLIAM C. SHERRILL, JR.
                                         UNITED STATES MAGISTRATE JUDGE



                                  NOTICE TO THE PARTIES

     A party may file specific, written objections to the proposed findings and
recommendations within 24 hours after receiving a copy of this report and
recommendation.




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